          Case 2:22-cv-01477-JLR Document 6-2 Filed 10/17/22 Page 1 of 4




                   IN THE UNITED STATES DISTRICT COURT
            WESTERN DISCTRICT OF WASHINGTON– SEATTLE DIVISION

LOZANO ET AL,


         Plaintiffs/Respondents

v.
                                            Civil Misc. Action No. 2:22-mc-00078
DOES I-X, ET AL,
                                            Judge Robert S. Lasnik
         Defendants,

v.

BIRCH,

           Petitioner.



                                  ATTACHMENT B
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From:              Kirsten Fraser
To:                Stefania Ramos
Subject:           Re: Lozano et al v. Doe, et al. Subpoena
Date:              Thursday, September 22, 2022 6:46:38 PM


Absolutely and I apologize if my email came across as pestering. Sometimes my emails go to
junk mail, so I follow-up to be sure.


       On Sep 22, 2022, at 5:07 PM, Stefania Ramos <ramosimmigration@gmail.com>
       wrote:


       ﻿
       Ms. Frasier,

       Please be advised that my availability to respond to emails is extremely limited at
       the moment due to my pregnancy, limited time in the office, and my last day in
       the office being 9/30. I should be able to respond to you by tomorrow afternoon.
       I'd appreciate your patience.

       Sincerely,

       Stefania Ramos Birch, Esq.
       Ramos Immigration P.L.L.C.
       20801 HWY 99, Ste 201
       Lynnwood, WA 98036
       P: (425)218-7458
       F: 1(206)494-7803
       Notice: This communication may contain privileged or other confidential
       information. If you are not the intended recipient, please delete this message and
       notify the sender immediately.

       Atención: Este correo podría contener información privilegiada o confidencial.
       Si usted no es el destinatario previsto, por favor borre este mensaje y avise al
       remitente.


       On Thu, Sep 22, 2022 at 1:37 PM Kirsten Fraser <kfraser@organlegal.com>
       wrote:

           Stefania,



           I’m following up on my email from yesterday morning.



           Thanks,
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Kirsten Fraser
Organ Law llp
1330 Dublin Road

Columbus, Ohio 43215

614.481.0900/614.869.3221 (direct)

614.481.0904 (f)

www.organlegal.com




From: Kirsten Fraser
Sent: Wednesday, September 21, 2022 9:46 AM
To: 'ramosimmigration@gmail.com' <ramosimmigration@gmail.com>
Subject: Lozano et al v. Doe, et al. Subpoena



Stefania,



Thank you for your call last week regarding the third party subpoena that was
served on you. I’m writing to memorialize our conversation. You agreed to
look for responsive documents, and that we would postpone the deposition for
several weeks given the upcoming birth of your child. I would like to set some
timelines regarding the documents. Would it be reasonable for you to look for
the documents and get back to me by October 14th? As for the deposition, one
thought I had was to do a brief deposition over Zoom this week or next, so that
it is not looming over your head. Otherwise, could we look for a date in mid to
late November or early December?



Best regards,



Kirsten Fraser
Organ Law llp
1330 Dublin Road

Columbus, Ohio 43215
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614.481.0900/614.869.3221 (direct)

614.481.0904 (f)

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